              Case 21-13797-SMG       Doc 659     Filed 05/12/22     Page 1 of 12




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov

In re:                                                             Chapter 11 Cases

LIBERTY POWER HOLDINGS, LLC,                                       Case No. 21-13797-SMG
LPT, LLC,                                                          Case No. 21-15537-SMG
LIBERTY POWER MARYLAND, LLC,                                       Case No. 21-15539-SMG
LIBERTY POWER DISTRICT OF
COLUMBIA, LLC,                                                     Case No. 21-15540-SMG

      Debtors.                                      (Jointly administered 21-13797-SMG)
__________________________________/

  DEBTORS’ RE-NOTICE OF TAKING BANKRUPTCY RULE 2004 EXAMINATION
                 DUCES TECUM OF DAVID HERNANDEZ

         Liberty Power Holdings, LLC (“Holdings”), LPT, LLC (“LPT“), Liberty Power of

Maryland, LLC (“Liberty Maryland”) and Liberty Power District of Columbia, LLC (“Liberty

DC”) (collectively the “Debtors”), by and through counsel, and pursuant to Rule 2004 of the

Federal Rules of Bankruptcy Procedure, will examine the following person(s) under oath, at the

following date, time and location (the “Examination”):

         EXAMINEE:           David Hernandez

         DATE:               June 7, 2022

         TIME:               9:30 a.m.

         LOCATION:           Genovese, Joblove & Battista, P.A.
                             100 SE 2nd Street, Suite 4400
                             Miami, Florida 33131

         The Examination is being conducted by Federal Rules of Bankruptcy Procedure 2004

and Local Rule 2004-1. The Examination will be taken before an officer authorized to record the

testimony by stenographic or other means. If the Examinee requires an interpreter, it is the
             Case 21-13797-SMG         Doc 659      Filed 05/12/22     Page 2 of 12




Examinee’s responsibility to engage the employment of such interpreter to be present at the

Examination.

       The Examination is being taken for the purpose of discovery, for use at trial, or both of

the foregoing, or for such other purposes as are permitted under the Federal Rules of Bankruptcy

Procedure and other applicable law, and shall continue day to day until completed. If the

Examinee receives this notice less than fourteen (14) days prior to the scheduled examination

date, the Examination will be rescheduled upon timely request to a mutually agreeable time. Any

objection must be heard prior to the taking of the Examination.

                        REQUEST FOR PRODUCTION OF DOCUMENTS

       The Examinee shall produce those documents, records and ESI (collectively, the

“Documents”) listed in the attached Exhibit “A” to Paul J. Battista, Esq., Genovese, Joblove &

Battista, P.A., 100 SE 2nd Street, Suite 4400, Miami, Florida 33131, no later than 12:00 noon on

June 1, 2022.

Dated: May 12, 2022.
                                             Respectfully submitted,

                                             GENOVESE JOBLOVE & BATTISTA, P.A.
                                             Counsel to Debtors-in-Possession
                                             100 Southeast Second Street, Suite 4400
                                             Miami, Florida 33131
                                             Telephone: (305) 349-2300
                                             Facsimile: (305) 349-2310

                                             By:    /s/Paul J. Battista
                                                    Paul J. Battista, Esq.
                                                    Florida Bar No. 884162
                                                    pbattista@gjb-law.com




                                                2
             Case 21-13797-SMG          Doc 659     Filed 05/12/22     Page 3 of 12




                                        EXHIBIT “A”

                            INSTRUCTION AND DEFINITIONS

        Unless otherwise specified, the following words and terms as used herein shall, when
utilized, mean as follows:

   I. INSTRUCTIONS

       A.      This document request is continuing in nature. When new knowledge or
information comes to your attention you shall supplement the information supplied in the
answers to the document request forthwith.

        B.      For each and every document request herein (each a “Request”), you shall
produce documents in your possession, custody, or control which shall include, but not be
limited to, documents, objects or articles described that are in your possession or for which you
have the right to secure the original or a copy from another person or entity. The fact that your
investigation is continuing or discovery is incomplete is not an excuse for your failure to respond
to each Request as fully and completely as possible. Your responses should consist of
information known to you through yourself, your agents, your attorneys, your employees, or
your representatives. All documents produced pursuant to this Request are to be produced as
they are kept in the usual course of business, and shall be organized and labeled (without
permanently marking the item produced) so as to correspond with the categories of each
numbered Request hereof. If copies or drafts exist of a document, the production of which has
been requested herein, produce and submit for inspection and copying each and every copy and
draft which differs in any way from the original document or from any copy or draft.

        C.     If at any time you had possession, custody, or control of any document requested
herein, and such document has been lost, destroyed, discarded, or is not presently in your
possession, any such documents shall be identified as completely as possible by providing the
following information:

               1.     The name(s) of the author(s) of the document;

               2.     The name(s) of the person(s) to whom the documents or copies were sent;

               3.     The date of the document;

               4.     The date on which the document was received by each addressee, copyee,
                      or its recipients;

               5.     A complete description of the nature and subject matter of the document;

               6.     The date on which the document was lost, discarded, or destroyed; and

               7.     The manner in which the document was lost, discarded, or destroyed.


                                                3
             Case 21-13797-SMG          Doc 659      Filed 05/12/22      Page 4 of 12




       D.     With respect to any document that deponent withholds under claim of privilege,
the deponent shall number such documents, hold them separately, and retain them intact pending
a ruling by the Court on the claimed privilege. In addition, the deponent shall provide a
statement, signed by an attorney representing the deponent, setting forth as to each such
document:

               1.      The name(s) of the sender(s) of the document;

               2.      The name(s) of the author(s) of the document;

               3.      The name(s) of the person(s) to whom the document or copies were sent;

               4.      The job title of every person named in subparagraphs 1, 2 and 3 above;

               5.      The date of the document;

               6.      The date on which the document was received by each addressee, person
                       copied, or its recipient;

               7.      A brief description of the nature and subject matter of the document; and

               8.      The statute, rule, or decision which is claimed to give rise to the privilege.

       E.      If, after exercising due diligence to secure or produce the document(s) requested,
you cannot secure responsive documents, you must identify which Request(s) for which you do
not have a responsive document, and answer the Request for production to the fullest extent
possible, specifying your inability to produce the document(s), and providing the identity of the
person who has possession, custody, or control of the requested document(s).

       F.     All words, names, and terms in this request for production shall have their plain
and ordinary meanings unless specifically defined in Part II herein.

        G.      Copies of documents which are identical duplicates of other documents which
have already been produced for inspection and copying in this action need not be produced
again, except that the duplicates must be produced if handwritten or any other type of notes or
similar intelligence appear thereon or are attached thereto, including markings on slips indicating
the routing of the document to individuals or organizations.

       H.       The singular and plural forms shall be construed interchangeably so as to bring
within the scope of any Request any information which might otherwise be construed as being
outside of the scope of such Request.

        I.      The words “and” and “or” shall be construed as both conjunctive and
disjunctive, so that a series of persons or things joined by the words “and” and “or” shall refer to
any, all, or any combination of them.



                                                 4
              Case 21-13797-SMG           Doc 659      Filed 05/12/22      Page 5 of 12




      J.      The words “any” and “all” shall be construed to bring within the scope of any
Request any information which might be construed to relate to the subject matter of the Request.

        K.     The terms “concerning,” “concerns,” or any other derivative thereof, as used
herein includes referring to, responding to, relating to, pertaining to, connected with,
comprising, memorializing, commenting on, regarding, discussing, showing, describing,
reflecting, analyzing and constituting.

        L.      The terms “support,” “evidence,” “relate to,” “relating to,” “related to,”
“referred to,” “concerning,” “pertaining to,” and “regarding” shall mean anything which
directly, or indirectly, concerns, consists of, pertains to , reflects, evidences, describes, sets forth,
constitutes, contains, shows, underlies, supports, refers to in any manner, is or was used in the
preparation of, appended to, legally, logically or factually connected with, proves, disproves, or
tends to prove or disprove.

        M.      The use of the singular form of any word includes the plural and vice versa.

        N.      Any pronouns used herein shall include and be read and applied as to encompass
the alternative forms of the pronoun, whether masculine, feminine, neuter, singular or plural, and
shall not be interpreted so as to exclude any information or documents otherwise within the
scope of any Request.

       O.    All other names or terms herein not specifically defined or identified shall have
the same meaning as is commonly understood and referred to by and among the parties.

       P.      Unless otherwise stated in a particular Request for production, the relevant time
period of these Requests is January 1, 2020 to the present, and shall include all documents
which relate or refer to this period even though prepared before or subsequent to such period.

II.     DEFINITIONS

        1.      “Akerman” shall refer to Akerman, LLP and each of its shareholders, partners,
                associates, attorneys, employees, agents and independent contractors, including,
                without limitation, Michael Goldberg, Esq.

        2.      “BETM” shall mean Boston Energy Trading and Marketing, LLC.

        3.      “Chapter 11 Cases” shall refer to those certain voluntary chapter 11 cases filed
                by the Debtors in the United States Bankruptcy Court for the Southern District of
                Florida under Case Nos. 21-13797-SMG, 21-15537-SMG, 21-15539-SMG and
                21-15540-SMG.

        4.      “Communication” and “Communications” shall interchangeably mean any oral
                or written statement, dialogue, colloquy, discussion or conversation or exchange
                of information of any type, and any transfer of thoughts or ideas between any two
                or more persons, including but not limited to documents, telephone or face-to-face


                                                   5
      Case 21-13797-SMG         Doc 659      Filed 05/12/22    Page 6 of 12




       conversations, meetings, conferences, or transfer of data from one location to
       another by electronic or similar means.

5.     “Correspondence” shall mean any and all letters, facsimiles, transmitted
       memoranda, memorialized oral communications, e-mails (and attachments
       thereto), or other communications or documents exchanged or transmitted with
       another person or entity.

6.     “Daire” shall mean Alberto Daire.

7.     “Debtors” shall mean Liberty Power Holdings, LLC (“Holdings”) LPT, LLC
       (“LPT“), Liberty Power of Maryland, LLC (“Liberty Maryland”) and Liberty
       Power District of Columbia, LLC (“Liberty DC”) (collectively the “Debtors”) or
       anyone acting or purporting to act on behalf of the Debtors.

8.     “Default Notices” shall mean, without limitation, (i) that certain Notice of
       Potential Event of Default for Failure to Pay, dated March 26, 2021, provided by
       BETM to Liberty Power Holdings, LLC, and (ii) that certain Notice of Event of
       Default, dated March 31, 2021 from BETM to Liberty Power Holdings, LLC.

9.     “Deponent”, “examinee”, “you”, and “your” shall mean David Hernandez.

10.    The terms “Document” or “documents” means any writing or recording as
       defined in Rule 1001 of the Federal Rules of Evidence, including but not limited
       to the original and any identical or non-identical copy or draft or revision thereof,
       regardless of origin or location, of any writing or record of any type or
       description, including, but not limited to: the original and any copy, of any text
       message, book, pamphlet, periodical, letter, memorandum, telegram, report,
       study, handwritten or other note, working paper, chart, paper graph, index, tape,
       disc, data sheet or data processing card, correspondence, table, analysis, schedule,
       diary, message (including, but not limited to, reports of electronic mail or
       telephone conversations or conferences), magazine, booklet, circular, bulletin,
       instruction, minutes, purchase order, bill of lading, bid tabulation, memorandum
       of agreement, assignment, license, book of account, order, invoice, statement, bill
       (including, but not limited to, telephone bills), check, voucher, notebook, film,
       photograph, photograph negative, phone record, tape recording, wire recording,
       phonorecord, transcript or recordings, drawing, catalog, brochure, or any other
       data compilations in any format (including computer hard drives, discs, diskettes,
       compact disk, digital files, any other storage and retrieval media and the like)
       from which information can be obtained, printed, transcribed, punched, taped or
       filed; graphic matter, however produced or reproduced, to which the responding
       party has or has had access; and any record or notes of other communications
       (including interoffice, intra-office communications, electronic memoranda,
       voicemail messages and all other oral communications) and specifically including
       ESI, Correspondence and Communications (each as defined herein). All ESI is to
       be produced in a native format.



                                         6
      Case 21-13797-SMG        Doc 659      Filed 05/12/22     Page 7 of 12




11.    The term “ESI” means any electronically stored information, including emails
       (and attachments thereto), text messages, writings, drawings, graphs, charts,
       photographs, documents, sound recordings, images, and other data or data
       compilations-stored in any medium from which information can be obtained
       either directly or, if necessary, after translation by the responding party into a
       reasonably usable form as defined in Rules 26 and 34 of the Federal Rules of
       Civil Procedure and Rule 1001 of the Federal Rules of Evidence.

12.    “Event of Default” shall mean any event of default (A) referred to in the Default
       Notices, or (B) under (i) that certain Supply and Services Agreement, dated July
       6, 2020, by and among Liberty Power Holdings, LLC and Boston Energy Trading
       and Marketing, LLC (the “SSA”), and (ii) any and all loan, security and other
       documents executed and delivered in connection with the SSA.

13.    “Gordian Group” shall mean Gordian Group, LLC and each of its members,
       managers, partners, associates, attorneys, employees, agents and independent
       contractors, including without limitation, Kaufman.

14.    “Halpern” shall mean Martin Halpern.

15.    “Kaufman” shall mean Peter S. Kaufman.

16.    “Mezzanine Loan” shall mean that certain loan made by you to the Debtors in
       the original principal amount of $5,000,000 on or about July 6, 2020.

17.    “Mezzanine Loan Documents” shall mean those certain loan and security
       documents evidencing and securing the Mezzanine Loan, including, without
       limitation (i) that certain Mezzanine Loan Agreement, dated as of July 6, 2020, by
       and among you, Halpern and the Debtors, (ii) that certain Promissory Note, dated
       July 6, 2020, from the Debtors to you in the original principal amount of
       $5,000,000, (iii) that certain Security Agreement dated as of July 6, 2020, from
       the Debtors to you, (iv) that certain Warrant for Common Units, dated July 6,
       2020, issued to you, and (iv) that certain Intercreditor Agreement, dated as of July
       6, 2020, by and among BETM, Halpern, you, the Debtors and Shell Energy North
       America (US), L.P.

18.    “Mintz” shall mean Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C. and
       each of its shareholders, partners, associates, attorneys, employees, agents and
       independent contractors.

19.    “ParentCo” shall mean Liberty Power Corp.

20.    “Person” shall mean any natural person, individual, proprietorship, partnership,
       corporation, association, organization, joint venture, business trust, or other
       business enterprise, governmental body or agency, legal or business entity, or



                                        7
               Case 21-13797-SMG              Doc 659       Filed 05/12/22        Page 8 of 12




                 group of natural persons, or other entity, whether sui juris or otherwise and
                 includes both the singular and plural.

        21.      “Possession, custody, or control” as used herein shall have the same meaning as
                 in Rule 34(a) of the Federal Rules of Civil Procedure.

        22.      “Relevant Time Period” as used herein shall mean from January 1, 2020
                 through the present unless a different time period is requested in any particularly
                 Request.

        23.      “Termination Notice” means the Notice of Termination of Guaranty dated April
                 12, 2021 and issued by Mitsubishi Corporation to Liberty Power Holdings, LLC.

        24.      “Viner” shall mean Derik Viner.

        25.      “Winter Storm URI” shall mean the winter storm named Uri that occurred in
                 North America, and in particular the State of Texas, on or about February 13
                 through February 19, 2021.

        26.      Each and every definition as set forth in Bankruptcy Code Section 101 and
                 Bankruptcy Rule 9001 are incorporated herein by reference.

III.    DOCUMENTS REQUESTED1

THE DEPONENT SHALL PRODUCE THE FOLLOWING DOCUMENTS:

        1.       All Documents in your possession, custody and/or control relating to Mezzanine
                 Loan, including involving the terms thereof, and/or the development and/or
                 negotiation of such terms, in each case whether between you and Halpern, you
                 and any of the Debtors, you and Mintz, you and Gordian, you and Kaufman, you
                 and BETM and/or you and any other Person.

        2.       All Documents in your possession, custody and/or control relating to Mezzanine
                 Loan Documents, including all drafts thereof and/or involving the terms thereof,
                 and/or the development and/or negotiation of such terms, in each case whether
                 between you and Halpern, you and any of the Debtors, you and Mintz, you and
                 Gordian, you and Kaufman, you and BETM and/or you and any other Person.

        3.       All Documents in your possession, custody and/or control relating to your
                 appointment (and acceptance thereof) to the Board of Managers of Holdings,
                 including between you and Halpern, you and any of the Debtors, you and Mintz,
                 you and Gordian, you and Kaufman, you and BETM and/or you and any other
                 Person.


1
 To the extent any or all Documents responsive to the Requests are in electronic format, please contact the issuing
attorney to make arrangements for their production.


                                                        8
      Case 21-13797-SMG        Doc 659     Filed 05/12/22    Page 9 of 12




4.     All Documents in your possession, custody and/or control relating to any
       meetings of the Board of Managers of Holdings, including any notices of
       meetings and/or any board materials presented to the Board of Managers in
       connection with any meetings.

5.     All Documents in your possession, custody and/or control relating to any
       meetings of the Board of Managers/Directors of ParentCo, including any notices
       of meetings and/or any board materials presented to the Board of
       Managers/Directors in connection with any meetings.

6.     All Documents in your possession, custody and/or control relating to any action
       taken or not taken by the Debtors resulting from any meeting of the Board of
       Managers of Holdings.

7.     All Documents in your possession, custody and/or control relating to any action
       taken or not taken by the ParentCo resulting from any meeting of the Board of
       Managers/Directors of ParentCo.

8.     All Documents in your possession, custody and/or control that you either sent or
       received in your capacity as a member of the Board of Managers of Holdings.

9.     All Documents in your possession, custody and/or control that you either sent or
       received in your capacity as a member of the Board of Managers/Directors of
       ParentCo.

10.    All Documents in your possession, custody and/or control relating to any minutes
       of meetings of the Board of Managers for Holdings.

11.    All Documents in your possession, custody and/or control relating to any minutes
       of meetings of the Board of Managers/Directors for ParentCo.

12.    All Documents in your possession, custody and/or control relating to the financial
       condition of the Debtors, including reports of management, financial statements,
       tax returns or other similar items.

13.    All Documents in your possession, custody and/or control relating to any
       payments made to you under the Mezzanine Loan.

14.    All Documents in your possession, custody and/or control relating to any
       payments or transfers of property made to you by one or more of the Debtors for
       any reason other than on the Mezzanine Loan, including as a member of the
       Board of Managers of Holdings.

15.    All Documents in your possession, custody and/or control relating to any
       payments or transfers of property made to you by ParentCo for any reason.

16.    All Documents in your possession, custody and/or control which relate to or
       concern the Default Notices (or any of them).


                                       9
      Case 21-13797-SMG       Doc 659       Filed 05/12/22   Page 10 of 12




17.    All Documents in your possession, custody and/or control which relate to or
       concern the Termination Notice.

18.    All Documents in your possession, custody and/or control which relate to or
       concern the Events of Default (or any of them).

19.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving the Default Notices (or any of them).

20.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       Viner related to or involving the Termination Notice.

21.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving the Events of Default (or any of them).

22.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving negotiations with BETM or its representatives
       in respect of the Default Notices (or any of them), the Events of Default and/or
       the resolution of the issues related thereto.

23.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving fiduciary duties owed to any of the Debtors.

24.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving any demands on behalf of ParentCo or any
       other Person for the payment of monies or other benefits from BETM and/or any
       of the Debtors.

25.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving any requests made of BETM for weekly
       disbursements.

26.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their


                                       10
      Case 21-13797-SMG       Doc 659       Filed 05/12/22   Page 11 of 12




       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving the filing of a bankruptcy proceeding or other
       insolvency proceeding by one or more of the Debtors.

27.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving the Chapter 11 Cases of the Debtors.

28.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives),Gordian, Kaufman, ParentCo, Mintz, Halpern, Daire, and/or
       Viner related to or involving any hearings in the Chapter 11 Cases of the Debtors.

29.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving the termination of the employees of ParentCo
       on or about April 18, 2021.

30.    All Documents in your possession, custody and/or control which relate to or
       concern Communications between you and any of the Debtors (or any of their
       representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire,
       and/or Viner related to or involving the filing of any insolvency proceeding,
       bankruptcy proceeding, assignment for the benefit of creditors or similar
       proceeding on behalf of ParentCo.

31.    All Documents in your possession, custody and/or control which relate to or
       concern any matter involving any one of the Debtors.

32.    All Documents in your possession, custody and/or control which relate to or
       concern any matter involving ParentCo.

33.    All Documents in your possession, custody and/or control which relate to or
       concern any matter involving Mintz.

34.    All Documents in your possession, custody and/or control which relate to or
       concern any matter involving Gordian or Kaufman.

35.    All Documents that you received from any person, including any of the Debtors
       (or any of their representatives), Gordian, Kaufman, ParentCo, Akerman, Mintz,
       Halpern, Daire, and/or Viner, related to any one of the Debtors or any matter
       involving any one of the Debtors.

36.    All Documents in your possession, custody and/or control which relate to or
       concern any professional or other advice given by any Person to any one of the
       Debtors, Gordian, Kaufman, ParentCo, Akerman, Mintz, Halpern, Daire, and/or
       Viner related to any one of the Debtors or any matter involving any one of the


                                       11
      Case 21-13797-SMG        Doc 659       Filed 05/12/22    Page 12 of 12




       Debtors.

37.    All Documents in your possession, custody and/or control which relate to or
       concern any professional or other advice given to you by Gordian involving any
       one of the Debtors or any matter involving any one of the Debtors.

38.    All Documents in your possession, custody and/or control which relate to or
       concern any professional or other advice given to you by Mintz involving any one
       of the Debtors or any matter involving any one of the Debtors.

39.    All Documents in your possession, custody and/or control relating to the terms
       and/or scope of Mintz’ retention or engagement by the Debtors or any one of
       them for the provision of legal services, including but not limited to, all retention
       and engagement letters or agreements (including drafts).

40.    All of the files (hard copy and electronic copy) you maintain in connection with
       or involving any one of the Debtors or any matter related to any one of the
       Debtors.




                                        12
